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8
                                     UNITED STATES DISTRICT COURT
9                                   NORTHERN DISTRICT OF CALIFORNIA
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11   JUAN QUINTANILLA VASQUEZ,                                   Case No. 4:17-cv-00755
     GABRIELA PERDOMO ORTIZ, and VICTOR
12   HUGO CATALAN MOLINA, individually and                       [PROPOSED] ORDER APPROVING
     on behalf of all others similarly situated,                 STIPULATION FOR (1) FILING THE
13                                                               SECOND AMENDED COMPLAINT;
                                                                 AND (2) AMENDING THE SCHEDULE
14                   PLAINTIFFS,                                 FOR DEFENDANT’S MOTION TO
                                                                 COMPEL ARBITRATION
15
             vs.                                                 The Honorable Claudia Wilken
16

17   LIBRE BY NEXUS, INC. and JOHN DOES 1-
     50,
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19
20                     DEFENDANTS.

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22           Pursuant to the agreement of counsel, and good cause appearing, the Court orders the
23   following schedule:
24       1. Plaintiffs shall file their Second Amended Complaint in the form sent to Defendant on May
25           26, 2017, by June 9, 2017;
26       2. Defendant shall file its Motion to Compel Arbitration by July 10, 2017;
27       3. Plaintiffs shall file their Opposition to Defendant’s Motion to Compel Arbitration by August
28           24, 2017;


     [PROPOSED] ORDER GRANTING
     [PROPO[P12613-008/00667916_1         STIPULATION
                                  Error! Unknown        RE
                                                 document   (1) SECOND
                                                          property name. AMENDED COMPLAINT; (2) SCHEDULE FOR
     MOTION TO COMPEL ARBITRATION
          Case 4:17-cv-00755-CW Document 25 Filed 06/05/17 Page 2 of 2




 1      4. Defendant shall file its Reply in Support of its Motion to Compel Arbitration by September
 2         7, 2017; and
 3      5. Defendant’s Motion to Compel Arbitration shall be heard on ______________________.
                                                                       October 3, 2017 at 2:30pm
 4      6. All other deadlines shall remain the same.
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 6   IT IS SO ORDERED.
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     Dated: _____________
              June 5, 2017
 9
                                              The Honorable Claudia Wilken
10                                             United States District Judge

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     [PROPOSED] ORDER GRANTING STIPULATION RE (1) SECOND AMENDED COMPLAINT (2) SCHEDULE FOR MOTION
     TO COMPEL ARBITRATION
     Case No. 17-cv-00755
